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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                      February 01, 2023
                       UNITED STATES DISTRICT COURT
                                                                      Nathan Ochsner, Clerk
                        SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION

MICHAEL BAZZREA, et al.,               §
                                       §
         Plaintiffs,                   §
VS.                                    § CIVIL ACTION NO. 3:22-cv-265
                                       §
ALEJANDRO MAYORKAS, et al.,            §
                                       §
         Defendants.                   §
                                       §

                                   ORDER

       After considering the parties’ status report, Dkt. 72, the court orders

additional briefing addressing the question of mootness, given the new

James M. Inhofe National Defense Authorization Act for Fiscal Year 2023

(NDAA). Pub. L. No. 117-263, § 525 (Dec. 23, 2022), 136 Stat. 2395. The

defendants are ordered to file an opening brief no longer than 15 pages on or

before February 17, 2023; the plaintiffs must file a response brief no longer

than 15 pages on or before March 3, 2023; and the defendants may file a reply

brief no longer than 5 pages on or before March 10, 2023.



       Signed on Galveston Island this 1st day of February, 2023.


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                                        JEFFREY VINCENT BROWN
                                        UNITED STATES DISTRICT JUDGE
